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                                                     #:264
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 12-0831 JVS (MLGx)                                        Date   October 24, 2013

 Title             Essociate, Inc. v. Eagle Web Assets, Inc.


 Present: The                    James V. Selna
 Honorable
                         Karla J. Tunis                                       Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present
 Proceedings:           (In Chambers)          Order Granting Plaintiff’s Motion to Strike Answer

       Plaintiff Essociate, Inc. (“Essociate”) has filed a motion to strike the Answer of
Defendants Eagle Web Assets, Inc. and EWA Network, Inc. (collectively, “Eagle Web”)
so that it may request a default. For the following reasons, Essociate’s motion to strike
Eagle Web’s Answer is GRANTED.

       Essociate filed suit against Eagle Web on May 23, 2012, alleging that Eagle Web
infringed U.S. Patent No. 6,804,660. (Compl. ¶¶ 11-16, Docket No. 1.) Eagle Web filed
its Answer to the Complaint on July 31, 2012. (Docket No. 11.) On May 22, 2013, Daniel
F. Van Woerkom and Stephens Friedland LLP (collectively, “the Attorneys”) moved to
withdraw as counsel for Eagle Web. (Docket No. 36.) The Court granted the Attorneys’
motion to withdraw on June 18, 2013, further ordering Eagle Web to retain new counsel
within forty-five days. (Docket No. 40.) Eagle Web failed to comply with the Court’s
order to name new counsel. On September 24, 2013, Essociate filed a motion to strike
Eagle Web’s Answer. (Docket No. 46.)

       “[A] corporation may appear in the federal courts only through licensed counsel.”
Rowland v. Cal. Men’s Colony, 506 U.S. 194, 202 (1993); see also United States v. High
Country Broad. Co., 3 F.3d 1244, 1245 (9th Cir. 1993) (per curiam). Similarly, the Local
Rules for the United States District Court for the Central District of California prohibit
corporations from proceeding in an action pro se. L.R. 83-2.10.1. When a party fails to
comply with a court order to retain counsel, entry of a default judgment against that party
is “perfectly appropriate.” High Country Broad. Co., 3 F.3d at 1245.

      Eagle Web has not named new counsel despite the Court’s order to do so. (Docket
No. 40.) Therefore, it is permissible for Essociate to request a default. Essociate’s motion
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to strike Eagle Web’s Answer is GRANTED and Eagle Web’s Answer (Docket No. 11)
is hereby STRICKEN. The Court further finds that oral argument would not be helpful on
this matter, and VACATES the November 4, 2013 hearing. Fed. R. Civ. P. 78; L.R. 7-15.




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